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1    HEATHER E. WILLIAMS, #122664
     Federal Defender
2    MATTHEW C. BOCKMON, #161566
     Assistant Federal Defender
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4    Sacramento, California 95814
     Telephone: (916) 498-5700
5
     Attorney for Defendant
6    COLIN MCELWEE
7
8                             IN THE UNITED STATES DISTRICT COURT
9                          FOR THE EASTERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,                   ) Case No. 2:12-cr-114 LKK
11                                               )
                          Plaintiff,             ) ORDER TO EXONERATE BOND
12                                               )
           v.                                    )
13                                               )
     COLIN MCELWEE,                              )
14                                               )
                          Defendant.             )
15                                               )
16
            The Court finds that Colin McElwee was released pursuant to a $200,000.00 real
17
     property bond. On September 11, 2012, Colin McElwee, entered a guilty plea to Count 1 of the
18
     Indictment. On May 20, 2014, the Court sentenced Mr. McElwee to imprisonment for a term of
19
     48 months. Mr. McElwee is currently serving his sentence at Sheridan FCI in Sheridan, Oregon.
20
     His projected release date is February 15, 2017.
21
            Therefore, it is hereby ORDERED that the $200,000.00 property bond posted in this case
22
     is ordered exonerated and the Clerk of the Court is directed to reconvey to the surety, Wallace K.
23   McElwee. See Exhibit A for Legal Description of Real Property posted on behalf of Mr.
24   McElwee.
25   Dated: October 9, 2014
26                                                      _____________________________________
                                                        CAROLYN K. DELANEY
27
                                                        UNITED STATES MAGISTRATE JUDGE
28

     [[[PROPOSED] ORDER TO EXONERATE BOND           -1-                        US v. McElwee, 2:12-cr-114 LKK
      Case 2:12-cr-00114-TLN Document 111 Filed 10/09/14 Page 2 of 2


1                                                EXHIBIT A
2                                        “LEGAL DESCRIPTION”

3
4    THE LAND REFERRED TO HEREIN BELOW IS SITUATED IN THE CITY OF

5    SACRAMENTO, COUNTY OF SACRAMENTO, STATE OF CALIFORNIA, AND IS

6    DESCRIBED AS FOLLOWS:

7    Lot 18 of “Williamson Tract”, according to the Official Plat thereof, filed in the office of the
     recorder of Sacramento County, California on January 23, 1911, in Book 11 of Maps, Map No.
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     33, and the Westerly 10 feet of the alley living adjacent to the Lot 18.
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     APN: 011-0023-013-000
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     [[[PROPOSED] ORDER TO EXONERATE BOND            -2-                        US v. McElwee, 2:12-cr-114 LKK
